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                                                          UNITED STATES BANKRUPTCY COURT
                                                           WESTERN DISTRICT OF OKLAHOMA
 In re
 Ladoria Shaw                                                                                      Case No: 19-10524
 Debtor                                                                                            Chapter 13




                                                                     AFFIDAVIT COVER SHEET




Date: February 21, 2019                                                              /s/Joshua Farmer
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